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Vici<ie Edgeriy, District C|erk
Orange Courity, Texas

By: Denise Smi£h, Deputy

CAUsE No. 316°275'0
HARRY cHEssHER § rN THE misrch comer or
§
v. §
§ owners COUNTY, TnxAs
xL sPECIALTY insURANcE § # -
CoMPANY § "B~“d JUBICIAL DrsTRicT

PLAINTIFF’S ORIGINAL PETITIGN
TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW, Harry Chessher, Piaintiff and fries his Original Petition complaining of
XL Speciaity fnsurance Company, Befendant, and in support thereof wouid show the foiiowing:

I. DISCOVERY

Piaintiff intends to conduct discovery under Level 3 of the Texas Ruies of Civii
Procedure 190.3.

II. JURISDIC'I`ION

'I`his Court has jurisdiction over the parties to this suit. This Court has subject matter
jurisdiction over the controversies between the parties Piaintiff makes claims for damages for a
monetary amount in controversy within the jurisdiction of this Court. Plaintiff seeks reiief
between $200,000.00 and $i ,000,000.00 under Texas Ruie of Civii Procedure 47(b).

III. PARTIES

Piaintiff, I-Iarry Chessher, is an individual residing in Orange County, Texas.
Defendant, XL Speeiaity Insurance Company is a foreign entity doing business in the
venue and jurisdiction of this Court and process may be served on their registered agent, C']`

Corporation System, ¥999 Bryan Street, Suite 900, Daiias, Texa's 752()}.

 

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IV. VENUE

Venue is proper in Orange County, 'I`exas because Orange County is the county in which

 

ali or a substantial part of these events or omissions giving rise to these claims occurred See
Ts)t. Crv. PRAC. & REM. CoDE§ 15.002.

V. FACTS

On or about May' 5, 20]5, Piaintiff suffered severe bodily injuries when the vessel he was
captaining was struck by Mark Netheriy’s vessel. Due to the negiigence, negligent entrustment,
carelessness, and fault of Mr. Netherly as owner and/or operator of the vessel, the
unseaworthiness of the vessei, the failure to adequately train and supervise his crew/operator,
and for negiigently entrusting the vessei to an operator that he knew or should have known was
incompetent and/or reckless, all of which was in the privity and knowledge of Mr. Netherly,
Plaintiff sustained severe and disabling bodily injuries resulting in physical impairment, pain and
Suffering, and disfigurement

Nothing Plaintifi` did or failed to do on the occasion caused or in any way contributed to
the cause of his injuries l

Since the collision in question, it has become apparent that Mr. Netheriy’s insurance
coverage is insufficient to compensate Plaintiff for his injuries At the time of the accident
PlaintiH had uninsured/under-insured insurance through Defendant. Plaintit`f has made a claim
for this coverage, though Defendant refuses to payout the demand made under this policy.

vi. _sREAcn oF comch

Plaintiff` and Defendant had a valid, enforceable contract on the date of the coliision.
Piaintiti` if the beneficiary of the proceeds due under this contract given the circumstances set out

above. Additionaliy, Plaintiff has performed his contractual obligations by paying his premiums

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as due. Defendant has breached this contact by failing to pay the proper claim timely submitted
to Defendant. As such, Defendant has harmed Plaintif`t`.

VII. DAMAGES

As a resuit of the injuries sustained by Plaintiff as a result of the accident made the basis
of this suit, Plaintifi` hereby sues for the foiiowing damages items of damage which were not
compensated for by Netherly’s insurance:

a. Physical pain and suffering in the past;

b. Physical pain and suffering the Plaintiff wiil experience in the future;

c. Mental anguish suffered in the past;

d. Mental anguish the Piaintifi` will experience in the future;

e. `Past medicai expenses;

f. Medical expenses the Plaintiff will experience in the future;

g. Physical impairment in the past; and

h. Physical impairment Plaintiff wiii experience in the future

vrn. ATTonNEY rees `

Plaintiff seeks attorney’s fees under Chapter 33 of the Civil Practice and Remedies Code
for breach of a written contract

IX. PREJUDGMENT AND POSTJUDMENT INTEREST

Plaintiff seeks prejudgment and postjudgment interest as allowed by law.

X. COURT COSTS

Plaintiff sues to recover court costs as ailowed by law.

XI. I)EMANI) FOR JURY TRIAL

Plaintit`f demands a jury trial and has tendered the appropriate fee.

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XII. NOTICE ANI} CONDITIONS PRECEDENT

Ail conditions precedent to Piaintiff’s claim for reiiet` have been performed or have

occurred .

XIII. REOUEST FOR DISCLOSURES
Under the authority of Texas Rule of Civii Procedure 194, Piaintiff requests that

Defendant disciose within fifty (50) days of service

XIV, RULE 193.7 NOTICE

Plaintiff` intends to use Defendant’s discovery responses as evidence at trial in accordance
with such right and privileges established by Texas Ruie of Civil Procedure ]93.7

XV. PRAYER
WHEREFORE, PREMISES CONSEDERED, Plaintiff prays that Defendant be cited to

appear and answer herein, and that, upon finai hearing hereof, Plaintiff have judgment against
Defendant for all aforementioned damages Plaintit`f additionally requests that the Court award
reasonable and necessary costs pursuant to the Texas Civii Practice & Remedies Code, and for
such other and further relief, at law or in equity, general or special, to which Piaintit`f may be
justiy entitled

Respectfuily submitted,
THE BERNSEN LAW FIRM

/s/ Cade Bernsen

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